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AO 245B (CASDRev. 08/14) Judgment in a Petty Criminal Case


                                      United States District Court
                                            SOUTHERN DISTRICT OF CALIFORNIA                            18 JAN26 PM 3= IN
                 UNITED STATES OF AMERICA                              JUDGMENT IN A MJjBMSKS
                              V.                                       (For Offenses Committed On or After November 1,1987)
                      Juan Carlos Cabrera                                 Case Number:         17cr28?5=JMA'            . nfiur



                                                                       Benjamin Davis, Federal Defenders, Inc.
                                                                       Defendant’s Attorney
REGISTRATION NO.                   26618038

□-
The Defendant:

[X] pleaded guilty to count(s)           1 of the Superseding Information

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
Title & Section                      Nature of Offense                                                                 Number(s)
8 USC 1325                           Improper Entry by an Alien (Misdemeanor)                                              1




          The defendant is sentenced as provided in pages 2 through              2            of this judgment.

□ The defendant has been found not guilty on count(s)
M Count(s)           Underlying Information                       is   dismissed on the motion of the United States.

          Assessment: $10.00 - waived



IXI Fine waived            □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                       January 25.2018
                                                                       Date of Imposition^ Sentence


                                                                       HON/JAN M. ADLER
                                                                       UNITED STATES MAGISTRATE JUDGE



                                                                                                                       17cr2645-JMA
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           AO 245B (CASD Rev. 08/14) Judgment in a Petty Criminal Case

           DEFENDANT:                    Juan Carlos Cabrera                                                  Judgment - Page 2 of 2
           CASE NUMBER:                  17cr2645-JMA

                                                           IMPRISONMENT
            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
            Time Served




            □         Sentence imposed pursuant to Title 8 USC Section 1326(b).
            □         The court makes the following recommendations to the Bureau of Prisons:




            □         The defendant is remanded to the custody of the United States Marshal.

            □         The defendant shall surrender to the United States Marshal for this district:
                      □ at                                 A.M.              on
                      □    as notified by the United States Marshal.

            l~j       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
                      Prisons:
                      □    on or before
                      □    as notified by the United States Marshal.
                      □    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

            I have executed this judgment as follows:

                      Defendant delivered on                                           to

            at                                            , with a certified copy of this judgment.


                                                                                  UNITED STATES MARSHAL



                                                     By                   DEPUTY UNITED STATES MARSHAL



                                                                                                                   17cr2645-JMA
